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June 1, 2020

ECF

Hon. Debra C. Freeman
Thurgood Marshall
United States Courthouse
500 Pearl Street
New York, NY 10007

Re:    VE, 1:19-cv-07625-AJN-DCF; Katlyn Doe, 1:19-cv-07771-PKC-DCF; Priscilla Doe,
       1:19-cv-07772-ALC-DCF; Lisa Doe, 1:19-cv-07773-ER-DCF; Anastasia Doe, 1:19-cv-
       11869-MKV-DCF

Dear Judge Freeman:

We represent Defendants in the above-referenced actions. We write on behalf of all parties to
update the Court regarding settlement and discovery.

As the Court is aware, there have been no settlement discussions in any of the individual
above-referenced cases. The parties’ efforts regarding settlement have been singularly focused
on the establishment of a voluntary, independent claims resolution program, the Epstein
Victims’ Compensation Program. We are pleased to report that, this past weekend, the Co-
Executors entered into a tripartite agreement with claimants’ counsel (specifically, counsel for
Plaintiffs in the above-referenced actions, Brad Edwards, and counsel for plaintiffs in four other
actions pending before Your Honor, David Boies) and the Attorney General of the United States
Virgin Islands pursuant to which the Program may now move forward. Earlier today, the Co-
Executors of the Estate of Jeffrey E. Epstein filed in the Superior Court of the Virgin Islands the
status report attached hereto as Exhibit A. As stated therein, the Co-Executors, with the
support of claimants’ counsel and the USVI Attorney General, intend to authorize
commencement of the Program on Monday, June 15, 2020. Most, if not all, of the Plaintiffs in
the above-referenced actions intend to participate in the Program.

Meanwhile, the parties continue to meet and confer in efforts to resolve various discovery
disputes.

Thank you for your attention to this matter.
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Respectfully submitted,


s/Bennet J. Moskowitz
Bennet J. Moskowitz
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                  EXHIBIT A
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